                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                            CHARLOTTESVILLE DIVISION


                                                          Action No: 3:16CV00044
   Damian Stinnie, et al                                  Date: 3/25/2019
   vs.                                                    Judge: Norman K. Moon
                                                          Court Reporter: Sonia Ferris
   Richard D. Holcomb
                                                          Deputy Clerk: Heidi N. Wheeler



   Plaintiff Attorney(s)                           Defendant Attorney(s)
   Jonathan Blank                                  Maya Eckstein
   Laura Lange                                     Neil Gilman




                                     LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                           DEFENDANT:
   1.




  PROCEEDINGS:
  MOTION HEARING 11:05-12:15=1 hr 10 min

  Motion to Dismiss argued by Maya Eckstein.

  Mr. Blank responds. Ms. Eckstein closes.

  Remarks by Court.

  Further arguments.

  Motion to Certify Class argued by Laura Lange.

  Mr. Gilman responds. Ms. Lange closes.

  Order will issue.



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